
Upon consideration of the petition (Jacobs) filed by Attorney General on the 3rd day of November 2005 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 19th day of December 2006."
Upon consideration of the petition (Jacobs) for discretionary review, filed by Attorney General on the 3rd day of November 2005 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
"Allowed by order of the Court in conference, this the 19th day of December 2006."
Justice TIMMONS-GOODSON recused.
Accordingly, the new brief of the Attorney General shall be filed with this Court not more than 30 days from the date of certification of this order.
